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             15                        FOR THE EASTERN DISTRICT OF CALIFORNIA
             16                       AND THE NORTHERN DISTRICT OF CALIFORNIA
                               UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
             17
                                PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
             18
                  RALPH COLEMAN, et al.,                                  )   No.: Civ S 90-0520 LKK-JFM P
             19                                                           )
                                 Plaintiffs,                              )   THREE-JUDGE COURT
             20                                                           )
                         vs.                                              )
             21                                                           )
                  ARNOLD SCHWARZENEGGER, et al.,                          )
             22                                                           )
                                 Defendants                               )
             23                                                           )
                  MARCIANO PLATA ,et al.,                                 )   No. C01-1351 TEH
             24                                                           )
                                 Plaintiffs,                              )   THREE-JUDGE COURT
             25          vs.                                              )
                                                                          )   PLAINTIFFS’ OPPOSITION TO
             26 ARNOLD SCHWARZENEGGER, et al.,                            )   DEFENDANTS’ REQUEST FOR
                                                                          )   RECONSIDERATION OF APRIL 14,
             27          vs.                                              )   2008 ORDER OR, ALTERNATIVELY,
                                 Defendants                               )   REQUEST FOR STAY
             28

                    PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ REQUEST FOR RECONSIDERATION OF APRIL 14, 2008 ORDER OR, ALTERNATIVELY,
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              1                                              INTRODUCTION
              2          Through defendants’ request for reconsideration, State government leaders continue
              3   their crusade to hide relevant documents about the prison overcrowding crisis, and the State’s
              4   ability to provide constitutional levels of medical and mental health care to prisoners, from
              5   plaintiffs and this Court. In the fall of 2007, the State defendants originally cited an array of
              6   privileges as alleged justification for withholding more than 50,000 documents from
              7   production in response to plaintiffs’ September 5, 2007 discovery request. However, on
              8   December 7, 2007, Magistrate Judge Moulds held that defendants had wholly failed to meet
              9   their evidentiary burden establishing that the privileges applied to the more than 50,000
             10   documents. This Court then granted defendants additional time, on December 14, 2007, to re-
             11   review the documents and revise their privilege logs in accordance with the standards required
             12   by the Federal Rules of Civil Procedure. The Magistrate Judge granted defendants yet another
             13   extension of time on January 28, 2008 to complete the re-review and revision, and defendants
             14   finally produced their “final” privilege logs to plaintiffs on February 15, 2008, almost six
             15   months after the request for documents was served. See 4/14/08 Order (Coleman Doc. No.
             16   2753) at 2-3; Joint Statement Regarding Discovery Disputes (“Joint Statement”) (Coleman
             17   Doc. No. 2689), filed 2/25/08, at 1-4.
             18          As a result of this re-review, defendants abandoned their assertions of privilege for
             19   approximately 36,000 documents that appeared on the original logs. Defendants continued to
             20   claim privilege for 16,788 documents, and asserted attorney-client privilege and/or attorney
             21   work-product protection as the basis for withholding more than 7,500, or almost half, of these
             22   documents. See Joint Statement at 4:7-16, 6:fn 3. Plaintiffs did not dispute defendants’ claim
             23   of attorney-client privilege and/or attorney work-product production for the vast majority of
             24   the 7,500 documents and, indeed, moved to compel only 402 of them based on the information
             25   provided in defendants’ logs: 14 documents appeared to have no attorney as an author or
             26   recipient; 9 documents appeared to have been sent or received by an outsider to the attorney-
             27   client relationship, and 379 documents appeared to be communications that were not authored
             28   by an attorney, were not communications seeking legal advice, and for which the attorney(s)
                                                              -1-
                   PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ REQUEST FOR RECONSIDERATION OF APRIL 14, 2008 ORDER OR, ALTERNATIVELY,
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              1   appeared as “cc” recipients on a group list including a number of non-attorneys. See Joint List
              2   of Disputed Documents (Coleman Doc. No. 2705) at 2-5. The Magistrate Judge conducted an
              3   in camera review of these 402 documents, and sustained defendants’ claim of privilege for 109
              4   of them. Out of the 293 documents for which the Magistrate Judge rejected defendants’ claim
              5   of privilege, 226 were ordered produced immediately, and the 67 remaining documents were
              6   deferred pending the court’s determination as to the applicability of the deliberative process
              7   privilege, which defendants had also asserted for those 67 documents. 4/14/08 Order.
              8   Defendants have now asked this Court to reconsider the Magistrate Judge’s determination for
              9   45 of the 226 documents that were ordered to be produced.
             10          This Court should deny defendants’ request and uphold the Magistrate Judge’s decision
             11   as to these 45 documents. The Magistrate Judge already conducted careful in camera review
             12   of these documents, and, based on the information defendants provided in their privilege log,
             13   determined that these documents are not in fact privileged. To the extent that defendants’
             14   April 21, 2008 request for reconsideration provides new or different arguments, unsupported
             15   by evidence, about these documents seven months after they were to be produced, it is too little
             16   far too late.
             17                                     PROCEDURAL BACKGROUND
             18          Plaintiffs are classes of state prisoners with serious medical needs (Plata v.
             19   Schwarzenegger) and serious mental illness (Coleman v. Schwarzenegger). On November 13,
             20   2006, the plaintiff classes separately filed motions in the Northern and Eastern Districts of
             21   California to convene a three-judge court to limit the prison population in the CDCR, pursuant
             22   to 28 U.S.C. § 2284 and 18 U.S.C. § 3626(a)(3). On July 23, 2007, citing defendants’ failure
             23   to remedy their violations of the plaintiff classes’ constitutional rights to adequate medical and
             24   mental health care, respectively, the Plata and Coleman Courts separately granted plaintiffs’
             25   motions and referred consideration of a prisoner release order to a three-judge panel. The
             26   Chief Judge of the Ninth Circuit appointed this single Three-Judge Court on July 26, 2007 to
             27   consider Plaintiffs’ requests in both cases for a prisoner release order, pursuant to 18 U.S.C.
             28   § 3626(a)(3). The two cases were consolidated for the limited purpose of proceedings before
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                    PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ REQUEST FOR RECONSIDERATION OF APRIL 14, 2008 ORDER OR, ALTERNATIVELY,
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              1   this Court. 7/31/07 Order at 2:5-12.
              2            On August 17, 2007, this Court issued an order referring all discovery disputes arising
              3   in these proceedings to Magistrate Judge Moulds in the Eastern District of California. 8/17/07
              4   Order at 4:3-5. The parties then engaged in a discovery process during which both plaintiffs
              5   and defendants propounded discovery requests. In response to requests for production of
              6   documents served on defendants by plaintiffs on September 5, 2007, defendants produced a
              7   series of privilege logs on a rolling basis concurrent with defendants’ production of documents.
              8   Defendants withheld more than 50,000 documents pursuant to claims of various privileges
              9   including deliberative process, official information, attorney-client, attorney work-product, and
             10   privacy rights. See Declaration of Andrea Lynn Hoch (Coleman Doc. No. 2653-2), filed
             11   January 28, 2008, at ¶ 6. Pursuant to court orders, defendants also submitted the privilege logs
             12   and the documents referenced therein to the Magistrate Judge for in camera review. Plaintiffs
             13   objected to the sufficiency of defendants’ privilege logs, as well as their assertions of privilege,
             14   and the parties met and conferred about these issues throughout November 2007.
             15            On November 30, 2007, plaintiffs moved to compel production of the documents
             16   identified in defendants’ first three sets of privilege logs.1 On December 6, 2007, the
             17   Magistrate Judge heard arguments on this motion, and issued an oral ruling and minute order
             18   granting plaintiffs’ motion to compel and requiring defendants to produce to plaintiffs all
             19   documents cited in the privilege logs on or before 12:00 p.m. on December 7, 2007. The
             20   Magistrate Judge issued a written order on December 7, 2007, finding that defendants failed to
             21   meet their Rule 26(a)(5) obligations to describe the documents in sufficient detail to enable
             22   plaintiffs to assess the privilege: “The deficient entries [in the logs] are obvious and they are
             23
                  1
             24     As of November 30, defendants had produced three sets of privilege logs to plaintiffs and
                  these were the basis for plaintiffs’ motion to compel. Subsequently, defendants produced
             25   additional sets of privilege logs to plaintiffs and the parties filed a joint statement concerning
                  production of the documents identified in those logs. Before disputes as to the additional logs
             26   were resolved, however, the Three-Judge Court granted defendants 45 days to revise all of
                  their privilege logs and referred the matter back to the Magistrate Judge. The present dispute
             27   concerns these revised privilege logs, which cover all documents for which defendants assert
                  claims of privilege.
             28
                                                                           -3-
                      PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ REQUEST FOR RECONSIDERATION OF APRIL 14, 2008 ORDER OR, ALTERNATIVELY,
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              1   numerous…[I]t is obvious to this court that defendants have failed to meet their burden of
              2   establishing the privileges asserted in these proceedings.” 12/7/07 Order at 10:6-17.
              3   Specifically, Magistrate Judge Moulds held that defendants failed to meet the legal
              4   requirements for establishing the deliberative process privilege and the official information
              5   privilege; raised defenses in the proceedings that constituted a waiver of the deliberative
              6   process privilege; failed to establish essential elements of the attorney-client privilege and its
              7   applicability to the documents for which the attorney-client privilege was claimed; failed to
              8   establish that the materials for which they claimed attorney work product protection were
              9   entitled to that protection; and failed to offer an adequate basis for withholding documents
             10   based on privacy rights. 12/7/07 Order. The Magistrate Judge further ordered that certain
             11   documents withheld pursuant to assertions of official information privilege and privacy rights
             12   be produced subject to a protective order preventing the parties from making those documents
             13   part of the record without further order from the court. Id. at 17:20-27. The order also directed
             14   the parties to file any motion for reconsideration with the Three-Judge Court. Id.
             15          On December 7, 2007, defendants filed a motion for reconsideration and/or a stay of the
             16   Magistrate Judge’s order before this Court. Plaintiffs filed an opposition to defendants’ motion
             17   on December 10, 2007. On December 11, 2007, this Court issued an order staying the
             18   Magistrate Judge’s December 6, 2007 order and set a December 13, 2007 status conference
             19   regarding defendants’ motion. Following the December 13, 2007 status conference, this Court
             20   issued an order on December 14, 2007 denying defendants’ motion for reconsideration in part,
             21   but granting defendants’ request for additional time to review and revise their clearly
             22   inadequate privilege logs. This Court referred the matter back to the Magistrate Judge for
             23   further proceedings in connection with defendants’ review and revisions.
             24          On December 19, 2007, following a conference with the parties, the Magistrate Judge
             25   issued an order requiring defendants to serve their revised privilege logs on plaintiffs on or
             26   before January 28, 2008, together with any documents for which the claim of privilege was
             27   withdrawn. The order also required defendants, on or before January 28, 2008, to file with the
             28   court a copy of the revised privilege logs and to submit under seal to the court a copy of all
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                   PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ REQUEST FOR RECONSIDERATION OF APRIL 14, 2008 ORDER OR, ALTERNATIVELY,
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              1   documents described in the revised privilege logs. The Court set a status conference hearing
              2   regarding this dispute for January 29, 2008.
              3            On January 28, 2008, defendants moved ex parte for an extension of this deadline,
              4   citing their need to complete yet an additional level of review of the documents in the logs, as
              5   well as to review and correct errors in the revised privilege logs. See 1/29/08 Order at 2:5-7;
              6   Declaration of Andrea Lynn Hoch (Coleman Doc. No. 2653-2), filed January 28, 2008, ¶¶ 11-
              7   12. The extension was granted, and the Magistrate Judge ordered defendants to serve their final
              8   revised logs by February 15, 2008. 1/29/08 Order at 3:7-9. The Magistrate Judge also ordered
              9   defendants to produce a list identifying all individuals appearing on their privilege logs.
             10   1/29/08 Hearing Transcript at 20:4-19. On February 15, 2008, defendants served their final
             11   privilege logs and list of individuals in the logs, identifying approximately 16,788 documents
             12   that continued to be withheld based on assertions of privilege.2 See Declaration of Lori Rifkin
             13   In Support of Plaintiffs’ Opposition to Defendants’ Request for Reconsideration (“Rifkin
             14   Decl.”) ¶ 2. Defendants asserted attorney-client privilege and/or attorney work-product
             15   protection as the basis for withholding more than 7,500, or almost half of these documents.
             16            In a February 25, 2008 joint statement to the Magistrate Judge, the parties identified the
             17   remaining disputes concerning defendants’ assertions of privilege. Plaintiffs continued to
             18   contest defendants’ assertions of deliberative process privilege (approximately 4,653
             19   documents), but did not contest defendants’ claims of attorney-client privilege and/or attorney
             20   work-product protection for the vast majority of the more than 7,500 documents for which
             21   these protections were claimed. Joint Statement at 6:7-9. On February 27, 2008, the
             22   Magistrate Judge deferred resolution of the dispute concerning deliberative process privilege
             23   until further order of the court, and ordered the parties to further meet and confer concerning
             24   the disputes over defendants’ assertions of privilege other than deliberative process privilege,
             25
             26   2
                    Defendants also served yet another incomplete version of their privilege logs on plaintiffs on
             27   February 4, 2008, and the February 15 logs purported to incorporate and correct the entries on
                  those logs. See Rifkin Decl. ¶ 2; Joint Statement at 4:fn 2.
             28
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                      PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ REQUEST FOR RECONSIDERATION OF APRIL 14, 2008 ORDER OR, ALTERNATIVELY,
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              1   and to file a list of all documents still in dispute following this process. 2/27/08 Order. The
              2   parties resolved some of their disputes concerning defendants’ assertions of privilege through
              3   the subsequent meet and confer process.3 See Joint List of Disputed Documents (Coleman
              4   Doc. No. 2705) at 5:9. On March 7, 2008 the parties filed a joint list of the remaining 402
              5   disputed documents, which contained only documents for which defendants asserted attorney-
              6   client privilege and/or attorney work-product doctrine.4 Id. The Magistrate Judge heard
              7   argument regarding these documents on March 12, 2008, and, after completing in camera
              8   review of the documents, issued an order on April 14, 2008 granting in part and denying in part
              9   plaintiffs’ motion to compel production of these documents.
             10            Based on the in camera review, the Magistrate Judge ordered defendants to produce 226
             11   of the documents which they withheld pursuant to assertions of attorney-client privilege and
             12   attorney work-product doctrine, finding that defendants did not meet their burden of proving
             13   the asserted privileges for these documents. 4/14/08 Order at 7-11. On April 21, 2008,
             14   defendants requested reconsideration of the Magistrate Judge’s April 14, 2008 order by this
             15   Court, as to 45 of those documents, or alternatively, a stay by this Court of the order. Pursuant
             16   to the briefing schedule set forth in this Court’s April 25, 2008 order, plaintiffs timely file this
             17   opposition to defendants’ request for reconsideration. See 4/25/08 Order at 2:10-13.
             18   Defendants’ request does not satisfy the legal standards for reconsideration or a stay, attempts
             19   to mislead this Court as to the nature of defendants’ assertions of privilege for these
             20   documents, and should be rejected.
             21
                  3
             22    The parties resolved all disputes concerning documents for which defendants asserted
                  protections based on official information and privacy rights, and some of the disputes
             23   concerning documents for which defendants asserted attorney-client privilege and/or attorney
                  work-product protection. See Joint List of Disputed Documents at 2-5.
             24   4
                    This list included documents for which defendants asserted attorney-client privilege and/or
             25   attorney work-product doctrine in addition to deliberative process privilege. The Magistrate
                  Judge’s April 14, 2008 order does not order production of any of those documents, but defers
             26   the matter until further order of the court as to deliberative process privilege. Separately,
                  defendants now attempt to assert deliberative process privilege for documents for which no
             27   such assertion was made on their privilege logs, and plaintiffs address those nineteen
                  documents in Section I (C).
             28
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              1                                                     ARGUMENT
              2   I.        This Court Should Affirm The Magistrate Judge’s Decision Finding That
                            Defendants Have Not Established The Application Of Attorney-Client Privilege
              3             For These 45 Documents And Order Immediate Production Of These Documents
                            To Plaintiffs
              4
                        A. The Order Of The Magistrate Judge Is Not Clearly Erroneous Or Contrary To
              5            Law
              6             Fed. R. Civ. P. 72(a) provides that non-dispositive pre-trial matters may be decided by a
              7   magistrate judge. The standard for review by the district judge is whether the decision of the
              8   magistrate judge was “clearly erroneous” or “contrary to law.” See 28 U.S.C. § 636(b)(1)(A);
              9   E.D. Local Rule 72-303(f); Ainsworth v. Vasquez, 759 F. Supp. 1467, 1469 (E.D. Cal.1991).
             10   Discovery motions are non-dispositive pretrial motions within the scope of Rule 72(a) and 28
             11   U.S.C. § 636(b)(1)(A), and thus subject to the “clearly erroneous or contrary to law” standard
             12   of review. See Brown v. Wesley's Quaker Maid, Inc., 771 F.2d 952, 954 (6th Cir. 1985). A
             13   finding is “clearly erroneous” only when the reviewing Court considering the entire evidence is
             14   left with the definite and firm conviction that a mistake has been committed. United States v.
             15   United States Gypsum Co., 333 U.S. 364, 395 (1948); Nat’l Wildlife Fed’n. v. United States
             16   Forest Serv., 861 F.2d 1114, 1116 (9th Cir. 1988); Champagne v. Whitman, 2006 WL
             17   2522381, at *1 (E.D. Cal. Aug. 28, 2006) (noting that “[m]otions to reconsider [a magistrate’s
             18   ruling] are committed to the discretion of the trial court” and that “[t]o succeed [on a motion
             19   for reconsideration], a party must set forth facts or law of a strongly convincing nature to
             20   induce the court to reverse its prior decision”); cf. Weeks v. Bayer, 246 F.3d 1231, 1236 (9th
             21   Cir.2001) (warning that reconsideration standard presents “high hurdle”).
             22             Defendants moved for reconsideration of the Magistrate Judge’s determination that
             23   defendants failed to adequately establish attorney-client privilege for 45 of the documents the
             24   Magistrate Judge ordered produced. However, in their request for reconsideration, defendants
             25   fail to explain why, based on the information available to the Magistrate Judge at the time of
             26   his in camera review, the Magistrate Judge’s order was “clearly erroneous” or “contrary to
             27   law.” Rather, defendants now purport to provide new information concerning the authors,
             28   recipients, and bases for claiming privilege for these documents, and in many cases
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                       PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ REQUEST FOR RECONSIDERATION OF APRIL 14, 2008 ORDER OR, ALTERNATIVELY,
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              1   significantly alter the information provided in the privilege logs in an attempt to “re-assert”
              2   attorney-client privilege for these 45 documents. This information is contained primarily in the
              3   unverified chart on pages 4-9 of defendants’ request (“April 21, 2008 chart”). In the April 21,
              4   2008 chart, defendants fundamentally change the basis of the privilege for each and every
              5   document, augmenting or re-characterizing the information previously provided in the
              6   “summary” field of their privilege log. For 28 documents, defendants also change the
              7   individuals identified in the “author” and/or “recipient” fields from those identified in their
              8   privilege log.5 For an additional 10 documents, defendants substitute the phrase “and others
              9   within [relevant agency]” on the April 21, 2008 chart for the list of group recipients, including
             10   non-attorneys, that was provided in the privilege log.6 For the Court’s reference, a spreadsheet
             11   containing side-by-side comparisons of defendants’ descriptions of the disputed documents in
             12   their privilege logs and in their April 21, 2008 chart is attached as Exhibit A to the Declaration
             13   of Lori Rifkin in Support of Plaintiffs’ Opposition filed herewith. See Rifkin Decl. ¶ 4.
             14            Defendants’ April 21, 2008 chart either significantly misrepresents the documents in
             15   dispute, based on the information previously provided in defendants’ privilege logs and e-mail
             16   communications to plaintiffs, or, alternatively, corrects inaccurate information defendants
             17   provided on their privilege logs. Because the Magistrate Judge already conducted an actual in
             18   camera review of the documents and found them not to be privileged, plaintiffs doubt that
             19
             20
             21
             22
             23
                  5
             24    The 28 documents are E00047453, E00047456, E00047489, E00047512, E00045983,
                  E00045948, E00044626, E00030577, E00030572, E00030574, E00030575, E00028654,
             25   E00028650, E00028651, E00097579, E00095784, E00011245, E00082860, E00083812,
                  E00047820, E00044272, E00030578, E00030579, E00030571, E00030573, E00030576,
             26   E00028979, E00085393.
                  6
             27    The 10 documents are E00048579, E00047253, E00047256, E00047271, E00046148,
                  E00084308, E00084574, E00084575, E00084576, E00084577.
             28
                                                                           -8-
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              1   defendants’ new descriptions of the documents are accurate.7 Regardless, in order for a
              2   privilege log to be meaningful, the parties and the Court must be able to rely on the
              3   information included therein. See Fed. R. Civ. P. 26(b)(5) (party claiming privilege required to
              4   assert privilege with specificity by describing the nature of the documents in a manner that will
              5   enable other parties to assess the claim of privilege); see also Peat, Marwick, Mitchell & Co. v.
              6   West, 748 F.2d 540, 542 (10th Cir. 1984) (rejecting claim of privilege where party substantially
              7   identified disputed document and set forth the circumstances which would support claim of
              8   privilege only in motion for reconsideration of trial court’s order and holding that “[a] party
              9   seeking to assert the privilege must make a clear showing that it applies. Failure to do so is not
             10   excused because the document is later shown to be one which would have been privileged if a
             11   timely showing had been made....The applicability of the privilege turns on the adequacy and
             12   timeliness of the showing as well as on the nature of the document.”).
             13            The author, recipient, and description fields are the key factors for establishing that a
             14   document is covered by the attorney-client privilege. Accordingly, defendants’ belated efforts
             15   to change or even correct this information cannot be considered at this point, which is after
             16   defendants produced final privilege logs, after plaintiffs moved to compel documents based on
             17   those privilege logs, and after the Magistrate Judge completed his in camera review. See Peat,
             18   748 F.2d at 542. Defendants were afforded nearly six months from the time plaintiffs’
             19   discovery request was served to produce a reliable privilege log that sufficiently established the
             20   elements of the privileges they claimed. Moreover, defendants represented in their January 28,
             21   2008 motion for an extension of time to produce their final privilege logs that they intended to
             22   perform an additional review not only of the documents, but also of the revised privilege logs,
             23   and would correct errors in those logs. See 1/29/08 Order at 2:5-7. Despite having ample time
             24
                  7
             25    In fact, unsworn statements of this type by defense counsel as to the authors and recipients of
                  documents were previously found to be inaccurate by the Magistrate Judge during his in
             26   camera review of the documents. See 4/14/08 Order at 8: fn 6. The Magistrate Judge also
                  noted that defendants failed to explain the discrepancies between defense counsel’s statements
             27   as to the authors and recipients, and the authors and recipients identified in the privilege log
                  entries. Id. at 9: fn 7.
             28
                                                                           -9-
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              1   to do so, including two extensions by the courts, defendants failed to establish the elements of
              2   attorney-client privilege for these 45 documents and should now be compelled to produce them
              3   to plaintiffs.
              4
                     B. Defendants Did Not Meet Their Burden Of Establishing The Elements Of
              5         Attorney-Client Privilege For These 45 Documents
              6          It is well-established that “[t]he party asserting an evidentiary privilege has the burden
              7   to demonstrate that the privilege applies to the information in question.” United States v. Gray,
              8   876 F.2d 1411, 1415 (9th Cir. 1989) (internal quotation marks omitted). Federal Rule of Civil
              9   Procedure 26(b)(5)(A) requires that when a party withholds information otherwise
             10   discoverable by claiming it is privileged, “the party must expressly make the claim and
             11   describe the nature of the documents, communications, or tangible things not produced or
             12   disclosed. . .in a manner that, without revealing information itself privileged or protected, will
             13   enable other parties to assess claim.”
             14          “Federal common law recognizes a privilege for communications between client and
             15   attorney for the purpose of obtaining legal advice, provided such communications were
             16   intended to be confidential.” Gomez v. Vernon, 255 F.3d 1118, 1131 (9th Cir. 2001) (emphasis
             17   added). “Because the attorney-client privilege has the effect of withholding relevant
             18   information from the factfinder, it is applied only when necessary to achieve its limited
             19   purpose of encouraging full and frank disclosure by the client to his or her attorney.” Clarke v.
             20   Am. Commerce Nat’l Bank, 974 F.2d 127, 129 (9th Cir. 1992).
             21          At a minimum, in order to assert the privilege, the communication must be between a
             22   client and an attorney. However, even where the communications are between an attorney and
             23   a client, defendants must show that these were communications intended to be, and in fact
             24   were, kept confidential between an attorney and client for the purpose of obtaining legal
             25   advice. See Fisher v. United States, 425 U.S. 391, 403 (1976); United States v. Abrahams, 905
             26   F.2d 1276, 1283 (9th Cir. 1990), overruled in nonrelevant part by United States v. Jose, 131
             27   F.3d 1325 (9th Cir. 1997). Furthermore, the fact that an attorney or attorneys appear as one or
             28   two of the recipients in a group recipient list does not transform an unprivileged document into
                                                                   -10-
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              1   a privileged attorney-client communication. “Including an attorney on the distribution list . . .
              2   [or] Cc’ing numerous people . . . one of whom happens to be an attorney . . . does not amount
              3   to attorney client communication.” Fru-Con Constr. Corp. v. Sacramento Mun. Util. Dist.,
              4   2006 WL 2255538, at * 1 (E.D. Cal. Aug. 7, 2006) (internal quotation marks omitted)
              5   (applying California privilege law but noting the federal standard is the same). Rather,
              6   defendants are required to establish that each of the documents for which they assert privilege
              7   consisted of a confidential communication between an attorney and a client for the purpose of
              8   obtaining legal advice. If an attorney is merely a “cc” recipient on an e-mail, and not the
              9   recipient of “full and frank disclosure” from her client, then the privilege is not properly
             10   invoked.
             11          Plaintiffs moved to compel three categories of the allegedly attorney-client and attorney
             12   work-product documents based on the information contained in defendants’ final privilege
             13   logs: (1) documents for which no attorney was listed as either the author or recipient on
             14   defendants’ logs; (2) documents for which an “outsider” to the attorney-client relationship was
             15   listed as an author or recipient on defendants’ logs; and (3) documents which listed an attorney
             16   as a “cc” on a group email that does not appear to be privileged based on the description in
             17   defendants’ logs. For the 45 documents now at issue, the Magistrate Judge appropriately held
             18   that defendants did not meet their burden of establishing the applicability of the attorney-client
             19   privilege based on the information provided in the privilege log, the accompanying list of
             20   individuals identified in the log, and in camera review of the documents.
             21          1. No Attorney As Author Or Recipient
             22          The single document remaining at issue that was ordered produced because neither the
             23   author nor the recipient was an attorney is E00028654. Defendants’ privilege log entry lists
             24   Karen Finn, Department of Finance (DOF) Program Budget Manager, as the recipient, and Jim
             25   Martone, DOF Program Budget Analyst as the author. Neither of these individuals is an
             26   attorney. However, for the first time in their April 21, 2008 chart, defendants now identify Ben
             27   Rice, an attorney, as a recipient for this document. Whereas defendants described this
             28   document on their privilege log as “Email discussing mental health bed plan costs,” defendants
                                                               -11-
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              1   now describe this document as “an e-mail responding to the Deputy Legal Affairs Secretary’s
              2   questions regarding funding for mental health beds.” Defendants offer no verification or
              3   admissible evidence to support these changes. Indeed, defendants fail to acknowledge any of
              4   the significant changes in their descriptions, apparently hoping that neither the Court nor
              5   plaintiffs will notice. This belated addition of an attorney recipient and change in document
              6   description should be disregarded for the reasons stated above. See Peat, 748 F.2d at 542.
              7   Even assuming that defendants’ new description and recipient are correct and appropriate to
              8   consider, however, such a communication is not a privileged attorney-client communication.
              9   While Mr. Rice is an attorney, his receipt of factual information about the cost or budget for
             10   mental health beds is not privileged.
             11          2. Document Sent Or Received By Outsider To Attorney-Client Relationship
             12          The three documents remaining at issue that were ordered produced because they were
             13   received or sent by an “outsider” to the attorney-client relationship are E00082860,
             14   E00083812, and E0004598. The first two documents are email exchanges between Joan
             15   Petersilia, a professor at University of California-Irvine as an independent contractor for
             16   defendants, and Ben Rice, Deputy Legal Affairs Secretary in the Governor’s Office. 4/14/08
             17   Order at 9:11-13. Defendants’ privilege log described these documents as “Email discussing
             18   EP report and Strike Team work” and identified Kathy Jett (a non-attorney) as an additional
             19   recipient of these communications. The Magistrate Judge determined that these documents do
             20   not “contain any communication protected by the attorney-client privilege” (4/14/08 Order at
             21   9:15-17) and defendants do not establish a basis for their present assertion that an attorney-
             22   client relationship was established between Dr. Petersilia and Mr. Rice. For the third
             23   document, E00045948, defendants listed Susan Turner of the Center for Evidence-Based
             24   Corrections as a recipient on the privilege log in addition to defendant employees and Deputy
             25   Attorney General Lisa Tillman. The Magistrate Judge determined that Ms. Turner is an
             26   outsider to the attorney-client relationship and therefore defendants’ claim of privilege cannot
             27   be sustained. 4/14/08 Order at 9:4-9. In their April 21, 2008 chart, defendants now list Lisa
             28   Tillman as the author of the document, and Shama Chaiken (CDCR Chief Psychologist) as the
                                                               -12-
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              1   only recipient. Whereas defendants now describe the document as “an e-mail in which Lisa
              2   Tillman asks her client to provide her with information to be included in a declaration,”
              3   defendants previously described it in the privilege log as “Email thread discussing suicide risk
              4   screening prior to placement into ASU.” Plaintiffs have no confidence in defendants’ present
              5   assertion of author and recipient, or new description of the document. Defendants cannot
              6   legitimately support their request for reconsideration of this document by belatedly, and
              7   without any verification as to accuracy, changing the author and recipient previously identified
              8   to conform to the requirements of the privilege.
              9
                           3. Communications For Which Attorney(s) Appeared As Part Of A Group Of
             10               Recipients
             11            The remaining 41 documents at issue fall into the category of communications that were
             12   not authored by an attorney, did not appear from the information on the privilege log to be
             13   communications seeking legal advice, and for which the attorney(s) appeared as “cc” recipients
             14   on a group list including a number of non-attorneys. Defendants use a variety of tactics in their
             15   request to attempt to re-characterize each of these documents as subject to the attorney-client
             16   privilege.
             17            First, defendants alter the description of each document, sometimes dramatically, in an
             18   attempt to belatedly conform with the requirements of the privilege. In other words,
             19   defendants are not simply seeking reconsideration of the Magistrate Judge’s order, but, rather,
             20   are asking for a second chance to provide the fundamental information that would establish the
             21   privilege in the first place. This is improper in a request for reconsideration.
             22            Second, for 17 of the documents on the chart,8 defendants try to “hide the ball,” entirely
             23   omitting some of the recipients identified in the privilege log other than an attorney and, in
             24   some cases, one other individual. For example, for document E00011245, defendants’ chart
             25
             26   8
                   The 17 documents are E00011245, E00047820, E00045948, E00044272, E00030578,
             27   E00030579, E00030577, E00030571, E00030572, E00030573, E00030574, E00030575,
                  E00030576, E00028979, E00085393, E00097579, E00097584.
             28
                                                                          -13-
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              1   lists the author as Jaci-Marie Thompson (DOF budget analyst) and the recipient as Lisa
              2   Tillman (Deputy Attorney General) and describes the document as “Ms. Thompson provided
              3   her attorney, Ms. Tillman, with information regarding funding for a Coleman bed plan.” The
              4   privilege log, on the other hand, lists the following recipients for this document: “Brown,
              5   Vince (DOF - Chief Deputy Director of Budgets); Finn, Karen (DOF - Program Budget
              6   Manager, Resources, Environment, Capital Outlay, and Otros, RECO); Kessler, Steve;
              7   Martone, Jim (DOF - Principal Program Budget Analyst, Capital Outlay, RECO); McKeever,
              8   Doug (CDCR - Director, Mental Health Programs); Rice, Benjamin; Sifuentes, George (CDCR
              9   - Director of Facilities Management, Office of Facility Planning, Construction and
             10   Management); Sturges, Jay (DOF - Principal Program Budget Analyst, CorGen); Tillman, Lisa
             11   (DOJ - Deputy Attorney General, Office of the Attorney General); Tilton, Jim (CDCR -
             12   Secretary).” During the parties’ meet and confer, defendants described this document as “a
             13   communication between Jaci-Marie Thomson, Vince Brown, Steve Kessler, Doug McKeever,
             14   Ben Rice, Lisa Tillman, and Jim Tilton.” Even assuming that defendants’ new description is
             15   correct and appropriate to consider, however, such a communication is not a privileged
             16   attorney-client communication. While Ms. Tillman is an attorney, her receipt of factual
             17   information about funding for a bed plan is not privileged.
             18            Third, in another hide the ball maneuver, for an additional 18 documents on the April
             19   21, 2008 chart,9 defendants list one to three specific names plus the phrase “and others” as the
             20   recipients. Defendants’ privilege log entries show that the “others” to whom defendants refer
             21   include a list of non-lawyer recipients. For example, for documents E00028650 and
             22   E00028651, defendants’ chart lists the author as Karen Finn (DOF program budget manager)
             23   and the recipient as Ben Rice (Deputy Legal Affairs Secretary) and describes the documents as
             24   an email and attachment to an email “responding to the Deputy Legal Affairs Secretary’s
             25
             26   9
                   The 18 documents are E00048579, E00047253, E00047256, E00047271, E00047453,
             27   E00047456, E00047489, E00047512, E00046148, E00045983, E00044626, E00028650,
                  E00028651, E00083408, E00084574, E0008575, E00084576, E00084577.
             28
                                                                          -14-
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              1   questions regarding funding for mental health beds.” The privilege log lists the author of these
              2   documents as Jim Martone (DOF program budget analyst) and the recipients as: “Benson,
              3   Stephen (DOF - Associate Finance Budget Analyst, Capital Outlay, RECO); Finn, Karen (DOF
              4   - Program Budget Manager, Resources, Environment, Capital Outlay, and Otros, RECO);
              5   Rogers, Greg (DOF - Assistant Budget Manager, Capital Outlay, RECO); Rice, Benjamin
              6   (GOV - Deputy Legal Affairs Secretary, Office of Legal Affairs)” and describes the documents
              7   as “Email thread discussing and attaching pre-decisional report regarding AB 900 funding” and
              8   “Pre-decisional draft report discussing AB 900 funding.” Again, even assuming that
              9   defendants’ new description is correct and appropriate to consider, such a communication is
             10   not a privileged attorney-client communication. While Mr. Rice is an attorney, his receipt of
             11   factual information about funding for mental health beds is not privileged.
             12             Fourth, for 7 of the documents,10 defendants switch the author identified from a non-
             13   attorney on the privilege log to an attorney on the April 21, 2008 chart.
             14             Defendants’ attempts to re-characterize these documents in their request for
             15   reconsideration, after already having had the opportunity to produce and correct multiple
             16   iterations of their privilege logs, should be rejected. Defendants had nearly six months from
             17   plaintiffs’ request for production to their final production of privilege logs, and another month
             18   between that production and the hearing before the court on this issue, to describe and/or
             19   correct the basis for their assertions of privilege as to these documents. At the December 6,
             20   2007 hearing, Magistrate Judge Moulds specifically described the nature of the problem for
             21   defendants: “[L]ooking at the privilege logs, I can’t tell who the client is. I can’t tell who’s
             22   seen the documents. I don’t know to whom they’ve been shown…It just appears that every
             23   time anybody who might have gone to law school appeared on a copy of a document, perhaps
             24   in the ‘cc’ list, or otherwise. . .that somebody in [defendants’] operation decided to call that an
             25   attorney/client privilege document…” 12/6/07 Transcript at 10:8-22.
             26
                  10
             27     The 7 documents are E00047453, E00047456, E00047489, E00047512, E00045983,
                  E00045948, E00044626.
             28
                                                                           -15-
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              1          After defendants’ final production of the privilege logs, plaintiffs challenged only 402
              2   out of more than 7,500 documents for which attorney-client privilege continued to be claimed.
              3   Defendants had plenty of time to review this small group of documents and provide additional
              4   information as to the basis of the privilege so that the court would not have to rely on inference
              5   in conducting the in camera review. Defendants failed, or declined to do so. During the
              6   March 12, 2008 hearing on this issue, Magistrate Judge Moulds observed precisely the same
              7   deficiencies with respect to how the court was to determine whether a document with a group
              8   of recipients that included an attorney on the cc list was covered by the attorney-client
              9   privilege. 3/12/08 Transcript at 14:8-10 (“[T]here’s no inference that can be drawn, other than
             10   the listing of the name on the document, that the document should be privileged.”).
             11          Defendants did not meet their burden to establish that the attorney-client privilege
             12   applies to these 41 documents, and they are bound by the record presented to the Magistrate
             13   Judge. They have not offered any evidence or even attempted a sworn explanation as to why
             14   the information now provided in the chart is accurate, or why it differs (in some cases, very
             15   significantly) from the information provided on their privilege log. They offer nothing more
             16   than a bare assertion in a brief. The Magistrate Judge determined the applicability of privilege
             17   based on the information provided to him by defendants, and his order was not clearly
             18   erroneous nor did it contravene clearly established law. Thus, the order should be upheld by
             19   this Court, and defendants should be ordered to produce these documents immediately to
             20   plaintiffs.
             21
                     C. Defendants’ New Assertions Of The Deliberative Process Privilege For Documents
             22         Have Been Waived And Should Be Disregarded
             23          Defendants’ new assertions of the deliberative process privilege for 19 of these
             24   documents should be disregarded. Federal Rule of Civil Procedure 26(b)(5) requires that a
             25   party withholding information based on assertion of privilege must “expressly make the
             26   claim.” Deliberative process privilege was not asserted for these documents in defendants’
             27   February 15, 2008 privilege logs, and has been waived. See, e.g., Eureka Fin. Corp. v.
             28   Hartford Accident & Indem. Co., 136 F.R.D. 179, 184 (E.D. Cal. 1991) (holding that party’s
                                                             -16-
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              1   failure to properly assert the privilege and failure to timely attempt to rectify its error may lead
              2   to waiver of privilege by implication); see also Moloney v. U.S., 204 F.R.D. 16, 21 (D. Mass.
              3   2001) (“[I]t defies logic to permit counsel to assert one privilege so as to preclude testimony at
              4   a deposition, but thereafter research and claim an entirely different privilege in response to a
              5   motion to compel.”).
              6          Defendants had more than ample time to claim privilege in response to plaintiffs’
              7   September 5, 2007 request for production. In fact, defendants represented that their “final”
              8   privilege logs, produced on February 15, 2008, were the result of a multi-tiered review process
              9   which began with the review of documents that resulted in the first series of privilege logs in
             10   November and December 2007, continued with an intensive re-review of documents in January
             11   2008, and for some documents, continued with yet another review in February 2008. See
             12   Declaration of Andrea Lynn Hoch (Coleman Doc. No. 2653-2), filed January 28, 2008, at ¶¶ 6-
             13   13. Moreover, defendants also represented that their review process consisted not only of
             14   review of the documents, but also of their revised privilege logs so that they could correct
             15   errors in these logs prior to production of the final logs. See 1/29/08 Order at 2:5-7.
             16   Defendants produced the final logs on February 15, 2008.
             17          Now, however, defendants are asserting deliberative process privilege for 19 documents
             18   for which they made no such assertion in their February logs. In their request for
             19   reconsideration, defendants misleadingly state in their description of 19 documents that
             20   “Defendants previously asserted application of the deliberative process privilege in either their
             21   privilege logs or in the course of meeting and conferring with Plaintiffs’ counsel.” See
             22   April 21, 2008 chart. In actuality, defendants did not assert deliberative process privilege for a
             23   single one of these documents in their final privilege logs. Rather, they asserted this privilege
             24   only in an email to plaintiffs on March 6, 2008, after the final logs were submitted and the
             25   parties had already submitted a joint statement to the court as to the remaining disputes based
             26   on those logs. Defendants never presented these claims of privilege to the Magistrate Judge.
             27   See 4/14/08 Order at 8: fn.6 & 9: fn.7. Defendants may not now simply tack additional
             28   assertions of deliberative process privilege to documents, especially without even attempting to
                                                                  -17-
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              1   satisfy the legal requirements for asserting this privilege by including affidavits of senior
              2   agency officials establishing that they have personally reviewed these documents and claim
              3   deliberative process privilege for them. In his April 14, 2008 Order, the Magistrate Judge
              4   already rejected this tactic by defendants, noting that defendants’ assertion of a deliberative
              5   process privilege for the first time for a document in their March 6, 2008 email to plaintiffs
              6   was untimely and would not be considered by the court. Id. This Court should do the same.
              7   Defendants represented that they completed a rigorous review process before production of
              8   their final privilege logs, and they should not now be allowed to make untimely assertions of
              9   privilege as last-ditch efforts to keep these documents from plaintiffs and the Court.
             10   II.    This Court Should Deny Defendants’ Request For A Stay
             11          Although defendants nominally requested a stay of the Magistrate Judge’s order in the
             12   caption and conclusion of their request, they made no attempt to articulate or meet the standard
             13   for issuance of a stay. In fact, they made no argument or statement whatsoever about their
             14   request for a stay. Defendants have not thus far produced these 45 documents to plaintiffs,
             15   essentially granting themselves their own ipso facto stay of the Magistrate Judge’s order.
             16   Defendants ask for a stay in the alternative to reconsideration, presumably so that they may
             17   appeal any order to produce these documents in the event the Three-Judge Court denies their
             18   request for reconsideration. A district court has discretion to stay its order, pending appeal,
             19   upon consideration of, “(1) whether the stay applicant has made a strong showing that he is
             20   likely to succeed on the merits; (2) whether the applicant will be irreparably injured absent a
             21   stay; (3) whether issuance of the stay will substantially injure the other parties interested in the
             22   proceeding; and (4) where the public interest lies.” Hilton v. Braunskill, 481 U.S. 770, 776
             23   (1987). Defendants have made no showing as to any of these factors, nor have defendants
             24   established that the discovery order is an appealable order in the first place. In fact, the Ninth
             25   Circuit dismissed defendants’ previous appeal of the discovery orders by the Magistrate Judge
             26   and this Court concerning issues of privilege for lack of jurisdiction. See 4/16/08 Order, Case
             27   No. 08-15063. This Court should deny defendants’ request for a stay and order production of
             28   these documents to plaintiffs forthwith.
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                    PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ REQUEST FOR RECONSIDERATION OF APRIL 14, 2008 ORDER OR, ALTERNATIVELY,
[209720-1]                                    REQUEST FOR STAY, NOS.: CIV S 90-0520 LKK-JFM, C01-1351 TEH
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              1                                                CONCLUSION
              2          Plaintiffs request that the Court deny defendants’ request for reconsideration, or,
              3   alternatively, request for stay, and order immediate production of these documents to plaintiffs.
              4
              5   Dated: May 9, 2008                                          Respectfully submitted,
              6                                                               ROSEN, BIEN & GALVAN, LLP
              7
                                                                              By: /s/ Lori Rifkin
              8                                                                   Lori Rifkin
                                                                                  Attorneys for Plaintiffs
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                   PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ REQUEST FOR RECONSIDERATION OF APRIL 14, 2008 ORDER OR, ALTERNATIVELY,
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